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 4
     Attorney for Defendant
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 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                    Case No. 1:86-cr-00213-NONE
12                       Plaintiff,               ORDER
13   vs.                                          JUDGE: Hon. Dale A. Drozd
14   CLAUDE SHOOK,
15                      Defendant.
16
17            IT IS HEREBY ORDERED, that the United States Marshals transport the defendant
18   CLAUDE SHOOK (U.S. Parole, Register no. 53717-097) from the Kern County Lerdo Facility
19   and book him into the Fresno County Jail, 1225 M St, Fresno CA 93721, in order to facilitate
20   attorney visits and Mr. Shook’s parole violation hearing. At all times, Mr. Shook will remain in
21   the custody of the Bureau of Prisons. The clerk of the is ordered to serve this order on the
22   United States Marshals Office.
23
     IT IS SO ORDERED.
24
25         Dated:   March 16, 2020
                                                       UNITED STATES DISTRICT JUDGE
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